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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


COURTNEY WHITE,                      )
                                     )
       Plaintiff,                    )
                                     )          CIVIL ACTION NO.
       v.                            )            2:17cv824-MHT
                                     )                 (WO)
LT. TOTTY and OFFICER D.             )
LEWIS,                               )
                                     )
       Defendants.                   )

                                 JUDGMENT

      In accordance with the memorandum opinion entered

today, it is the ORDER, JUDGMENT, and DECREE of the

court as follows:

      (1) Defendants’         objections       (doc.     no.    19)       are

overruled.

      (2) The        United        States       Magistrate        Judge’s

recommendation (doc. no. 18) is adopted.

      (3) Defendants’ motion for summary judgment (doc.

no.    7)   is   granted    only    as   to   plaintiff’s       excessive

force claim for monetary damages against them in their

official capacities, is are otherwise denied.
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    (4) Judgment is entered in favor of defendants and

against    plaintiff     as    to    plaintiff’s      excessive    force

claim     for    monetary     damages      against    them    in   their

official capacities, with plaintiff taking nothing by

his complaint to that extent.

    The clerk of the court is DIRECTED to enter this

document    on    the    civil      docket   as   a   final    judgment

pursuant    to    Rule   58   of     the   Federal    Rules   of   Civil

Procedure.

    This case is not closed.

    DONE, this the 25th day of January, 2021.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE




                                     2
